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                EXHIBIT 46
          Case: 1:17-md-02804-DAP Doc #: 2373-21 Filed: 08/14/19 2 of 3. PageID #: 388291



           To:         Wright, Kyle J.[Kyle.J.Wright@usdoj,gov]
           From:       Walker, Donald
           Sent:       Wed 2/11/2009 2:42:55 PM
           Subject:    RE: Suspicious Order



           Thanks Kyle . I will direct to Maureen going forward. Did the listing of closed registrants meet your needs?

           Don




              From: Wright, Kyle J. [mailto:Kyle.J.Wright@usdoj.gov]
              Sent: Wednesday, February 11, 2009 4:35 AM
              To: Walker, Donald
              Cc: O'Keefe, Maureen E.
              Subject: RE: Suspicious Order

              Don

              This is to acknowledge receipt of your two Suspicious Order notifications. I have
              forwarded same to the Pharmaceutical Investigations Section (ODP), specifically Staff
              Coordinator Maureen ()'Keefe. In the future, please contact her pertaining to all such
              notifications and actions.

              'Kyfe J. (Wriglit
              Staff Coordinator
              (202) 307-5492 - Office
              (202) 373-4620 - :Jvlo6ife
              (202) 353-9529 - T:ftX

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              <J<fgulatorySection (CXD<;J<R.)
              8701 :Jvlorrissette <])rive
              Sprinafidcf, o/Jl 22152

              Pliysua{}'lcfcfress:
              600 Jlrmy Jlmy <])rive
              Jlfexrmcfria, VJl 22202

                 ----·Original Message----·
                 From: Walker, Donald [mailto:Donald.Walker@McKesson.com]
                 Sent: Friday, February 06, 2009 2:08 PM
                 To: Wright, Kyle J.
                 Cc: jgilbert@hpm.com; Trugman, Ina
                 Subject: Suspicious Order




Confidential I Exempt from FOIA. Subject to FRE 408.                                                       MCK_WVA_000163

Confidential I Exempt from Public Disclosure I Subject to Confidentiality Agreement                      MCK-AGMS-019-0008390
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                               MCKMDL00707025
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                 As part of our diligence in Controlled Substance Monitoring Program (CSMP) we have
                 identified a customer with a suspicious order pattern and have ceased selling all controlled
                 substances effective today. This email is to back-up the electronic submission we will make to
                 DEA. This customer recently converted their controlled drug purchases to McKesson after
                 Qualitest ceased distribution .



                 Modern Drug
                 DEA# BM 2472570

                 Please contact me with any questions



                 Don Walker
                 SVP Distribution Operations




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HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                             MCKMDL00707026
